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The 1S 44 civil cover sheet and the information contained herein neither replace nor supplement the filin and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in mber 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

L (a) PLAINTIFFS DEFENDANTS
Floyd Wallace Las Vegas Metropolitan Police Department; State of Nevada; Christian
Torres; Jason Shoemaker; Cory McCormick; and DOES 1 to 50 inc.
(b) County of Residence of First Listed Plaintiff Brazos, Texas County of Residence of First Listed Defendant _ Clark, NeVatia

(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY),
JEMNATION CASES, USE-THE LOCATION OF
LAND INVOLVED. * i.

(c) Attorneys (Firm Name, Address, and Telephone Number)

In Pro Per
1613 Leopard Ln., College Station, TX 77840
402-347-0770 floydwallacecivilrights @ qamail.com

II. BASIS OF JURISDICTION (Place an “x” in One Box Only)

1° U.S. Government $3 Federal Question
Plaintiff (U.S. Government Not a Party)
GO 2 USS. Government 1 4 Diversity
Defendant (Indicate Citizenship of Parties in ltem Hil) of Business In Another State

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6 110 Insurance PERSONAL INJURY PERSONAL INJUR' 6 625 Drug Related Seizure © 422 Appeal 28 USC 158 375 False Claims Act
0 120 Marine C1 310 Airplane 0 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
C130 Miller Act (7 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
[7 140 Negotiable Instrument Liability C1 367 Health Care/ {3 400 State Reapportionment
0 150 Recovery of Overpayment |( 320 Assault, Libel & Pharmaceutical PR CK 410 Antitrust
& Enforcement of Judgment Slander Personal Injury OF 430 Banks and Banking
CI 151 Medicare Act © 330 Federal Employers’ Product Liability 4 450 Commerce
(1 152 Recovery of Defaulted Liability (1 368 Asbestos Personal O 460 Deportation
Student Loans 0 340 Marine : Injury Product O 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability Be he a aS 5 SOCIAL NECURMEY 22) Corrupt Organizations
OF 153 Recovery of Overpayment Liability PERSONAL PROPERTY |) 710 Fair Labor Standards O 861 HIA (1395ff) OG 480 Consumer Credit
of Veteran’s Benefits CO 350 Motor Vehicle CO 370 Other Fraud Act 0 862 Black Lung (923) CO 490 Cable/Sat TV
© 160 Stockholders’ Suits 0 385 Motor Vehicle 0 371 Truth in Lending 0 720 Labor/Management 0 863 DIWC/DIWW (405(g)) | J 850 Securities/Commodities/
190 Other Contract Product Liability © 380 Other Personal Relations © 864 SSID Title XVI Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage 6 740 Railway Labor Act 0 865 RSI (405(g)) 890 Other Statutory Actions
(0 196 Franchise Injury fT 385 Property Damage [0 751 Family and Medical (3 891 Agricultural Acts
. iabili Leave Act 1 893 Environmental Matters
0 790 Other Labor Litigation 895 Freedom of Information
ee : GNS 10 791 Employee Retirement E RA a s Act
OK 440 Other Civil Rights Habeas Corpus: Income Security Act {9 896 Arbitration
0 220 Foreclosure O 441 Voting 0 463 Alien Detainee 899 Administrative Procedure
© 230 Rent Lease & Ejectment | (1) 442 Employment G1 510 Motions to Vacate Act/Review or Appeal of
(7 240 Torts to Land 0 443 Housing/ Sentence Agency Decision
0 245 Tort Product Liability Accommodations CO 530 General 6 950 Constitutionality of
6 290 All Other Real Property 0 445 Amer. w/Disabilities - | $35 Death Penalty Yl Pee as State Statutes
Employment Other: 462 Naturalization Application
0 446 Amer. w/Disabilities -| 540 Mandamus & Other [1 465 Other Immigration
Other O $50 Civil Rights . Actions
0 448 Education CO 555 Prison Condition
© 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Piace an “X” in One Box Only)
mk Original 2 Removed from O 3 Remanded from 1 4 Reinstated or 0 5 Transferredfrom 0 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation
spec
Gis pave: Givi Sv at which you are filing (Do not cite jurisdictional statates unless diversity):
VI. CAUSE OF ACTION Rie pring of ue
olation of first, fourth, fourteenth amendments. Wrongful arrest of a member of the press.
VII. REQUESTEDIN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURYDEMAND: Yes No
VIIE RELATED CASE(S)
IF ANY (See * JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
05/17/2023
‘FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

